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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


TERESA BLOODMAN, Parent and Natural Guardian
of John Doe, a minor child                                                             PLAINTIFF

vs.                                  No. 4:11-cv-00818-JMM

DR. TOM KIMBRELL, Arkansas Department of Education,
Individually Named and Official Capacity;
DR. JERRY GUESS, Superintendent, Pulaski County Special
School District, Individually Named and Official Capacity;
DR. TAMEKA BROWN, Principal, Maumelle High School,
Individually Named and Official Capacity;
MICHAEL SHOOK, Coach, Maumelle High School,
Individually Named and Official Capacity;
GROVER GARRISON, Coach, Maumelle High School,
Individually Named and Official Capacity;
SHERMAN COX, Athletic Director, Maumelle High School,
Individually Named and Official Capacity,                                          DEFENDANTS


      RESPONSE TO PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO
      COMPLETE DISCOVERY AND FOR AN EXTENSION OF SCHEDULING
                               ORDER

        Separate Defendants, Dr. Jerry Guess, Dr. Tameka Brown, Michael Shook, Grover Garrison

and Sherman Cox, by their attorneys, Bequette & Billingsley, P.A., for their Response to Plaintiff’s

Motion for Extension of Time to Complete Discovery and for an Extension of Scheduling Order,

allege and state:

        1.      Separate Defendants admit the allegations set forth in paragraph 1 of Plaintiff’s

Motion.

        2.      Separate Defendants admit the existence of the order referred to in paragraph 2 of

Plaintiff’s Motion, which speaks for itself. Separate Defendants otherwise deny the remaining

allegations set forth in paragraphs 2 and 3 of Plaintiff’s Motion.
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       3.      Separate Defendants admit the existence of the Motion for Protective Order referred

to in paragraph 4 of Plaintiff’s Motion, which speaks for itself. Separate Defendants deny the

remaining allegations set forth in paragraphs 4 and 5 of Plaintiff’s Motion.

       4.      Separate Defendants deny the allegations set forth in paragraph 6 of Plaintiff’s

Motion.

       5.      Separate Defendants admit the existence of the documents referred to in paragraph 7

of Plaintiff’s Motion, which speak for themselves. Separate Defendants deny the remaining

allegations set forth in paragraph 7 of the Motion.

       6.      Separate Defendants admit the existence of the Motion for Protective Order referred

to in paragraph 8 of Plaintiff’s Motion. Separate Defendants deny the remaining allegations set forth

in paragraph 8 of Plaintiff’s Motion.

       7.      Separate Defendants state affirmatively that Plaintiff’s Motion is moot due to the

Court’s order dated May 9, 2012, which granted Separate Defendants’ Motion for Protective Order

and granting Defendants’ Joint Motion for Extension of Time to Complete Discovery.

       8.      Separate Defendants admit the allegations set forth in paragraph 9 of Plaintiff’s

Motion. However, Separate Defendants state affirmatively that discovery should not commence in

this proceeding until the Court has ruled on Defendants’ Motions to Dismiss Plaintiff’s Amended

Complaint.

       9.      Separate Defendants admit the existence of the documents referred to in paragraph 10

of Plaintiff’s Motion, which speak for themselves. Separate Defendants’ counsel never received a

letter dated March 28, 2012 from Plaintiff. See Ex. C to Plaintiff’s Motion. Upon receipt of the

April 30, 2012 letter from Plaintiff’s counsel, Separate Defendants’ counsel immediately responded.




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A copy of the response from Separate Defendants’ counsel is attached hereto as Exhibit “A.” The

remaining allegations in paragraph 10 are denied.

       10.     The allegations set forth in paragraph 11 of Plaintiff’s Motion are moot based on the

May 9, 2012 Order.

       11.     The allegations set forth in paragraph 12 of Plaintiff’s Motion are moot based on the

May 9, 2012 Order.

       12.     The allegations set forth in paragraph 13 of Plaintiff’s Motion are moot based on the

May 9, 2012 Order.

       13.     Separate Defendants admit the allegations set forth in paragraph 14 of Plaintiff’s

Motion.

       WHEREFORE, Separate Defendants, Dr. Jerry Guess, Dr. Tameka Brown, Michael Shook,

Grover Garrison and Sherman Cox, pray that Plaintiff’s Motion for Extension of Time to Complete

Discovery and for an Extension of Scheduling Order be denied; for their attorney’s fees and costs

incurred herein; and for all other appropriate relief.

                                               Respectfully submitted,

                                               /s/ Jay Bequette
                                               Bar Number 87012
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                                               Attorneys for Separate Defendants Dr. Jerry Guess,
                                               Dr. Tameka Brown, Michael Shook, Grover Garrison
                                               and Sherman Cox




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                                                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2012, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the following:

Teresa Bloodman, Esq.                                           teresabloodman@yahoo.com

Scott P. Richardson, Esq.                                       scott.richardson@arkansasag.gov; agcivil@arkansasag.gov;
                                                                danielle.williams@arkansasag.gov


                                                                             /s/ Jay Bequette
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